                     Case 2:17-cv-00561-RAJ Document 1-8 Filed 04/11/17 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District
                                                    __________        of Washington
                                                                District of __________

                           Duy T. Mai                                 )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:17-cv-561
                                                                      )
United States; Department of Justice; Federal Bureau                  )
    of Investigation; Bureau of Alcohol, Tobacco,                     )
Firearms, and Explosives; James B. Comey; Thomas                      )
         E. Brandon; Jefferson B. Sessions III                        )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bureau of Alcohol, Tobacco, Firearms, and Explosives
                                           99 New York Avenue, NE
                                           Washington, DC 20226




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Vitaliy Kertchen
                                           711 Court A, Suite 104
                                           Tacoma, WA 98402




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
